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 1   DANIEL J. BRODERICK, Bar #89424
     Federal Defender
 2   LINDA HARTER, Bar #179741
     Designated Counsel for Service
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone (916) 498-5700
 5   Attorney for Defendant
     PATRICK STRATMAN
 6
 7
 8                       IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,      )     No. CR-S-06-505 EJG
                                    )
12                  Plaintiff,      )
                                    )     STIPULATION AND ORDER
13       v.                         )     CONTINUING STATUS CONFERENCE
                                    )     AND EXCLUDING TIME
14   PATRICK STRATMAN,              )
     JOSEPH BREWER,                 )     DATE: July 18, 2008
15                                  )     TIME: 10:00 a.m.
                    Defendant.      )     JUDGE: Edward J. Garcia
16                                  )
17
18
         IT IS HEREBY STIPULATED by and between the parties hereto through
19
     their respective counsel, ELLEN ENDRIZZI, Assistant United States
20
     Attorney, attorney for Plaintiff, LINDA HARTER, Chief Assistant Federal
21
     Defender, attorney for PATRICK STRATMAN, and GEOFFREY A. GOODMAN,
22
     attorney for JOSEPH BREWER that the current Status Conference date of
23
     July 11, 2008 be vacated, and a new Status Conference date of July 18,
24
     2008 at 10:00 a.m. be set.
25
         This continuance is requested as counsel for Patrick Stratman
26
     will be out of the country on a prepaid vacation until July 15, 2008.
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     The July 11, 2008 date was set in March.        The Court indicated the
28
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 1   status conference in March that all counsel and defendants were to be
 2   present on July 11 and ready to either enter pleas or set the case for
 3   trial. At that time, counsel already had plane tickets with her family
 4   to visit Europe, however those dates had not been entered onto her work
 5   calendar.    Counsel has conferred with counsel for the government and
 6   the co-defendant who have indicated no objection to moving the case 1
 7   week so that counsel undersigned can be present.            The Court’s clerk has
 8   indicated that the Court is available on July 18, 2008.
 9         It is further stipulated and agreed between the parties that the
10   period beginning July
                      July 11,11,
                               20082007  through
                                   through          and July
                                           and including including
                                                             18, 2008 July 18, 2007
11   should be excluded in computing the time within which the trial of the
12   above criminal prosecution must commence for purposes of the Speedy
13   Trial Act for defense preparation and continuity of counsel.             All
14   parties stipulate and agree that this is an appropriate exclusion of
15   time within the meaning of Title 18, United States Code, Section
16   3161(h)(8)(B)(iv) (Local Code T4) and that the ends of justice to be
17   served by a continuance outweigh the best interests of the public and
18   the defendant in a speedy trial.
19   Dated: June 25, 2008
20                                            Respectfully submitted,
21                                            DANIEL J. BRODERICK
                                              Federal Defender
22
23                                            /s/ Linda Harter
                                              LINDA HARTER
24                                            Chief Assistant Federal Defender
                                              Attorney for Defendant
25                                            PATRICK STRATMAN
26                                            /s/ Linda Harter for
                                              GEOFFREY A. GOODMAN
27                                            Attorney for Defendant
                                              JOSEPH BREWER
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     Stipulation & Order                      2
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 1   Dated: June 25, 2008
                                              MCGREGOR W. SCOTT
 2                                            United States Attorney
 3
                                              /s/ Linda Harter for
 4                                            ELLEN ENDRIZZI
                                              Assistant U.S. Attorney
 5
 6
 7
 8
 9
10                                          ORDER
11          Based on the parties' stipulation and good cause appearing
12   therefrom, the Court hereby adopts the stipulation of the parties in
13   its entirety as its order.       The Court specifically finds that the ends
14   of justice served by the granting of such continuance outweigh the
15   interests of the public and the defendant in a speedy trial.
16   IT IS SO ORDERED.
17   DATED: June 26, 2008                     /s/ Edward J. Garcia
                                              EDWARD J. GARCIA
18                                            United States District Court
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     Stipulation & Order                      3
